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Becca Dodd




From:                                   Debi Elliott <elliottd@pdx.edu>
Sent:                                   Tuesday, July 16, 2024 9:42 AM
To:                                     David Fauria
Cc:                                     oschwald@pdx.edu; Becca Dodd; Alex Rhee; John J. Jaeger; Nick Chaiyachakorn
Subject:                                Re: Oregon State Bar Economic Survey
Attachments:                            DowntownPortland_YearsinPractice_Percentiles.xlsx



David,
Again, apologies that this took so long. Please see the
attached spreadsheet for the numbers you requested.
Deb

On Thu, Jul 11, 2024 at 11:25 AM David Fauria <davidfauria@markowitzherbold.com> wrote:

    Hi Debi,



    No apologies necessary! Next week should work for us—our deadline for this project is early the following
    week. Thanks so much and let us know if there is anything we can do to help.



    -David



    David A. Fauria (he/him) | Lawyer

    Markowitz Herbold PC

    1455 SW Broadway, Suite 1900 | Portland, OR 97201

    T (503) 295-3085 | Bio | Web




    From: Debi Elliott <elliottd@pdx.edu>
    Sent: Thursday, July 11, 2024 11:14 AM
    To: David Fauria <davidfauria@markowitzherbold.com>
    Cc: oschwald@pdx.edu; Becca Dodd <beccadodd@markowitzherbold.com>; Alex Rhee
    <alexrhee@markowitzherbold.com>; John J. Jaeger <johnjaeger@markowitzherbold.com>; Nick Chaiyachakorn
    <nchaiyachakorn@gmail.com>
    Subject: Re: Oregon State Bar Economic Survey

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David,
My apologies for this taking so long. We will hopefully
have something for you by next week,
Deb


On Wed, Jul 10, 2024 at 4:07 PM David Fauria <davidfauria@markowitzherbold.com> wrote:

Hi Debi,



Just following up to see if you can provide and update. Thank you!



David A. Fauria (he/him) | Lawyer

Markowitz Herbold PC

1455 SW Broadway, Suite 1900 | Portland, OR 97201

T (503) 295-3085 | Bio | Web




From: David Fauria <davidfauria@markowitzherbold.com>
Sent: Wednesday, June 26, 2024 7:07 AM
To: Debi Elliott <elliottd@pdx.edu>
Cc: oschwald@pdx.edu; Becca Dodd <beccadodd@markowitzherbold.com>; Alex Rhee
<alexrhee@markowitzherbold.com>
Subject: Re: Oregon State Bar Economic Survey




Thank you, Debi. And no apologies necessary—we really appreciate you checking on this!



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From: Debi Elliott <elliottd@pdx.edu>
Sent: Wednesday, June 26, 2024 7:02:47 AM
To: David Fauria <davidfauria@markowitzherbold.com>
Cc: oschwald@pdx.edu <oschwald@pdx.edu>; Becca Dodd <beccadodd@markowitzherbold.com>; Alex Rhee
<alexrhee@markowitzherbold.com>
Subject: Re: Oregon State Bar Economic Survey




David,
Apologies for not responding sooner. We'll look into the
possibility of getting this for you and let you know if/when
we can send it to you.
Debi




On Tue, Jun 25, 2024 at 4:51 PM David Fauria <davidfauria@markowitzherbold.com> wrote:

Drs. Elliot and Oschwald,



I’m writing to follow up on my email below.



Thanks,

David



David A. Fauria (he/him) | Lawyer

Markowitz Herbold PC

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From: David Fauria
Sent: Tuesday, June 18, 2024 3:25 PM
To: 'elliottd@pdx.edu' <elliottd@pdx.edu>; 'oschwald@pdx.edu' <oschwald@pdx.edu>
Cc: Becca Dodd <beccadodd@markowitzherbold.com>; Alex Rhee <alexrhee@markowitzherbold.com>
Subject: Oregon State Bar Economic Survey



Drs. Elliot and Oschwald,



My name is David Fauria, and I am an attorney at the law firm Markowitz Herbold. I write to ask if you
would be willing to share some additional data regarding the most recent Oregon State Bar Economic
Survey. We hope to learn more about the percentile ranges that correspond with Table
36. Specifically, we are hoping you can provide us with the 75th percentile for lawyers in downtown
Portland based on years of practice.



If this request is best placed elsewhere, please let me know. Thank you in advance for your time.



Warmly,

David



David A. Fauria (he/him) | Lawyer

Markowitz Herbold PC

1455 SW Broadway, Suite 1900 | Portland, OR 97201

T (503) 295-3085 | Bio | Web



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Region                 Years in Practice   75th Percentile     95th Percentile      Mean
Downtown Portland      <= 3.00                        350.00              537.50               310.39
Downtown Portland      4.00 - 6.00                    371.25              495.00               312.16
Downtown Portland      7.00 - 9.00                    400.00              486.25               338.71
Downtown Portland      10.00 - 12.00                  450.00              567.00               378.89
Downtown Portland      13.00 - 15.00                  513.75              732.50               415.62
Downtown Portland      16.00 - 20.00                  550.00              682.50               444.85
Downtown Portland      21.00 - 30.00                  530.00              697.00               447.04
Downtown Portland      31.00+                         620.00              798.00               483.16




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